Case 1:07-cv-23323-CMA Document 11 Entered on FLSD Docket 02/26/2008 Page 1 of 1




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                         Case No. 07-23323-CIV-ALTONAGA/TURNOFF

  MORTON LUCOFF,

          Plaintiff,

          v.

  GC SERVICES LIMITED
  PARTNERSHIP,

        Defendant.
  ________________________________/

                           ORDER OF DISMISSAL WITH PREJUDICE

          THIS CAUSE came before the Court upon the parties’ Joint Stipulation for Dismissal

  With Prejudice [D.E. 10], filed on February 26, 2008. The Court has considered the Stipulation

  and pertinent portions of the record, and being otherwise fully advised in the premises, it is

          ORDERED AND ADJUDGED that this matter is DISMISSED WITH PREJUDICE,

  with each party to bear its own attorney’s fees and costs.

          DONE AND ORDERED in Chambers at Miami, Florida, this 26th day of February, 2008.



                                                        ________________________________
                                                        CECILIA M. ALTONAGA
                                                        UNITED STATES DISTRICT JUDGE


  Copies provided to:
  (1) Magistrate Judge William C. Turnoff
  (2) Counsel of record
